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                            UNITED STATES DISTRICT COURT                          û2T 31 2219
                           SO U TH ER N D ISTR ICT O F FLO RID A
                                 vlsc                                            tykt EJlk/ts
                                       .   xo.)q -3 4 0- u                       io ooa ..,.,
  IN RE:SEA LED
  CR IM INA L COM PLA IN T
                          /

                                 CR IM INA L C O V ER SH EET


        Did this m atteroriginate from a m atterpending in the N orthel'n Region ofthe U nited
        StatesA ttorney'sO ftice priorto October 14,20037           Y es       X No

        Didthismatteroriginate from am atterpendinginthe CentralRegion oftheUnited States
        A ttolmey's Office priorto Septem ber 1,2007?        Y es     X No


                                                     Respectfully subm itted,

                                                     A RIA N A FA JARD O OR SH AN
                                                     U NITED STA TES A TTO RN EY

                                             By:                  W
                                                     M ICHA EL THA K U R
                                                     A ssistantU nited StatesA ttorney
                                                     CourtN um berA 5501474/
                                                     Florida BarN o.1011456
                                                     99 N ortheast4th Street
                                                     M iam i,Florida 33132-2111
                                                     (305)961-9361
                                                     michael.thakur@ usdoj.gov
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    AO 9l(Rev.11/11) CriminalComplaint

                                    U NITED STATES D ISTRICT C OU RT
                                                                 forthe
                                                      Southern D istrictofFlorida

                   U nited StatesofA m erica                        )
                                                                    ) CaseN o. /5,. ''
                                                                                     y,pora-
                                                                    )
                                                                    )
                       Houssam Hachem ,                             )
                                                                    )

                                                C R IM IN A L C O M PLA IN T
            1,thecomplainantin thiscase,statethatthefollowing istruetothebestofmy knowledge andbelief.
    Onoraboutthedatets)of                2013throughpresent         inthecountyof                         Miami-Dade    inthe
       Southern Districtof                 Florida          ,thedefendantts)violated:
               CodeSection                                                  OffenseDescri
                                                                                        ption
    18 U.S.C.j 1956(h)'
                      ,                        Conspiracy to Com m itMoney Laundering'
                                                                                     ,and
    31U.S.C.jj5324(3)(3)                       Structuring TransactionstoAvoid Repoding Requirem ents.
              5324(d)(1)and(2).
                              ,and
    18 U.S.C.j2.



            Thiscrim inalcomplaintisbased on these facts:

                                                  -   SEE ATTACHED AFFIDAVIT-




            d Continuedontheattachedsheet.                                                      //?
                                                                                                ?'            .'
                                                                                            ?I?C
                                                                                            W
                                                                                                                   XS
                                                                                                                   U
                                                                                                             'W'




                                                                                           Complainant'
                                                                                                      ssi
                                                                                                        gnature
                                                                                    SpecialAg ntDanielM cNam ara,DEA
                                                                                                rinted meand title
'
    Sworntobeforeme and signed in my presence.


    Date: /,/ù,1tq                                                                                    z
                                                                                                     udge'
                                                                                                         ssignature

    City and state'
                  .                                                           Hon.J hnJ.0' ullivan,U.S.M agistrate Judge
                                                                                            Printed nameand title
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                                                                           Iq-B >u 3.''5-r

                                            AFFID A VIT

      Y ourAffiant,D anielM cN am ara,being duly sw orn,deposes and states:

              Iam aSpecialAgentwiththeDrugEnforcementAdministration(DEA).lhave
   been a SpecialA gentfor over three years,and Ihave been em ployed by the DEA for six years.

   Prior to becom ing a SpecialA gent,l was an Intelligence Analystfor the D EA . l have received

   specializedtrainingon thesubjectofnarcoticstrafficking and money laundering from theDEA
   and have been personally involved in investigations concerning the possession, m anufacture,

   distribution,and im portation of controlled substances,as w ell as m ethods used to finance drug

   transactions.

          2. Thisaffidavitis subm itted in suppol'
                                                 tofa crim inalcom plaintagainstHoussam

   H A CH EM .A s explained below ,lrespectfully stibm itthatthere is probable cause to believe that

   H A CH EM engaged in a conspiracy to com m itm oney laundering,based on the specified unlaw ful

   activity of operating an unlicensed m oney transm itter business,in violation of Title 18,U nited

   StatesCode,Section 1960,al1inviolationofTitle 18,United StatesCode,Section 1956(h);and
   did know ingly and forthe purpose ofevading the reporting requirem ents ofTitle 31,United

   StatesCode,Section5313(a),and anyregulationpromulgatedthereunder,structureandassistin
   structuring,transactions,thatis,cash depositsinto H A CHEM 'Sbartk account,in violation ofTitle

   31,United StatesCode,Sections5324(a)(3)and 5324(d)(1)and (2),and Title 18,United States
   Code,Section 2.

          3. U nderTitle 18,U nited StatesCode,Section 1960,itisunlawfulforanyone to

   know ingly conduct,control,m anage,supervise,direct,or ow n allor pal'
                                                                        tofan unlicensed m oney

   transm itting business.The tenn ktm oney transm itting''ûtincludestransfening fundson behalfofthe

   public by any and allm eansincludingbutnotlim ited to transfersw ithin thiscountry orto locations
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   abroadbywire,check,draft,facsimile,orcourier.''18U.S.C.j1960(b)(2).Theterm k'unlicensed
  m oney transm itting business''m eans a m oney transm itting business w hich affects interstate or

   foreign com m erce in any m annerordegree and w hich fultills atleastone ofthe three otherlisted

  requirements:(1)SûisoperatedwithoutanappropriatemoneytransmittinglicenseinaStatewhere
   such operation is punishable as a m isdem eanor or a felony under State law ,whether or not the

   defendant knew that the operation was required to be licensed or that the operation w as so

  punishablei''(2)failsto complywiththemoney transmittingbusinessregistration requirements
   under section 5330 oftitle 31,U nited States Code,orregulations prescribed under such section'
                                                                                                ,

   or(3)Ctotherwise involves the transportation ortransmission offundsthatare known to the
   defendantto have been derived from a crim inaloffense orare intended to be used to prom ote or

   supportunlaw ful activity.''Section 5330 detines a idm oney transm itting business''as a business

  that:(A)providescheckcashing,currencyexchange,ormoneytransmittingorremittanceservices,
   or issues orredeem s m oney orders,travelers'checks,and other sim ilarinstrum ents orany other

  person who engagesas a business in the transm ission offunds,including any person who engages

   as a business in an infonnal m oney transfer system or any netw ork of people who engage as a

  business in facilitating the transfer of m oney dom estically or intem ationally outside of the

   conventionalfinancialinstitutionssystem '
                                           ,(B)isrequired to filereportsundersection 5313,
                                                                                         .and
   (C)isnotadepositol'yinstitution (asdefinedinsection 5313(g)).fJ.atj5330(d)(1).
          4. The follow ing inform ation isbased upon m y personalknow ledge and inform ation

  thathas been provided to m e by other 1aw enforcem ent officers. Because this affidavitis being

   subm itted forthe lim ited purpose ofestablishing probable cause for a crim inalcom plaint,1have

  notincluded each and every factknow n to m e or other law enforcem entofficers concelming this

   investigation.
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                                        PR O BA BLE C AU SE

             From atleastas early as 2013 through the present,H A CHEM conspired with

  m oney launderers in South A m erica, the U nited States, and elsew here to facilitate the illicit

  m ovem entofm oney through hisbalzk accountsand hiscellphone businesses,H W G K Enterprises,

  Sim ple W ireless,and Class W ireless,al1located in M ichigan.N either HA CH EM ,nor any of his

  co-conspirators,had a license,asrequired by law ,to operate a m oney transm itterbusinessin the

  State ofFlorida or elsew here in the U nited States.

         6. HA CH EM received m illions ofdollarsin third-party w ires sentby intenuediaries he

  knew w ere engaging in m oney transm itting for a fee,unrelated to the sale or purchase of goods

  from H A CHEM ,to obscurethetrue origin ofthe funds.HA CH EM and hisco-conspiratorscreated

  false invoices to conceal the fact that no legitim ate goods w ere being sold to the third-pal'ty

  com panies orentities from which H A CH EM w as receiving m oney.

  M onev Iaundered throueh FAR H A T netw ork

             One ofH A CHEM 'Sprincipalco-conspirators wasN ader M oham ad FA RH A T,the

  leaderofan extensive m oney laundering organization in the Tri-BorderA rea ofSouth Am erica,a

  region w here the borders ofBrazil,A rgentina and Paraguay converge.FAR HA T w as charged by

  Superseding lndictm ent with conspiracy to com m it m oney laundering and substantive m oney

  laundering countsin the Southern DistrictofFloridain casenumber 17-20865-CR-Ruiz(s)and
  wasalso charged w ith m oney laundering in the Eastern D istrictofN ew York in case num ber 18-

  cr-292.FA RI-IA T w as arrested in Paraguay on oraboutM ay 17,2018,and w as extradited to the

  United Statesin June 2019.FARH A T'S casesare currently pending in both districts.

         8. The FARH A T investigation began in oraround 2013,w hen a M exico-based m oney

  laundererinstructed aDEA confidentialsource (hereinafterûCCS1'')to deliverover$500,000 in
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  cash thathad been picked up in Detroit,m inus com m ission,to a FA RH AT associate in M iam i,

  Florida. A sa result,DEA began an undercoverinvestigation into FARH A T and his network.A s

  partofthatinvestigation,from 2014 to2015,approxim ately $600,000in purported dnlg proceeds
  were delivered to FARI-
                        IAT orpersonsdirected by FA RH AT to receive funds on his behalf in
                                                        ,



  South Floridaand Paraguay.D uring a recorded m eeting atFA RH AT'Sbusiness' U nique Cam bios,

  in Ciudad D el Este,Paraguay in Septem ber 2015,CS1 told FA RHA T thatthe C S w orks w ith

  ûûnarco m oney''and that$iallthe m oney is laundered.''FA RI-IA T proposed thatCS 1 receive cash

  in M iam i-am illion dollarsevery 15 days.FA RHA T said thathecharges 1.5% form oney leaving

  from Ciudad D el Este; 2% for m oney leaving from A suncion, Paraguay'
                                                                       , and 3.5% for cash

  received in the United StatesorBrazil. The m oney w ould be routed to China orthe U nited States.

  FA RHA T and CS 1discussed w here FARH A T could receive cash outside ofthe United Statesand

  Paraguay,andFARHAT mentionedDubaiandLebanon.Anundercoveragent(hereinafterû$UC''),
  posing asan associate ofCSI,subsequently delivered $250,000 in $100 billsto FARHAT in a
  black backpack. FA RH AT opened the bag and quickly counted the bundles of U .S.currency

  handed to him .FA RHA T then w ired the m oney from Brazilto the U C accountin installm ents.

         9. ln D ecem ber2015,again atthe direction ofthe DEA ,CS1 contacted FA RH A T to

  deliver$125,000 in M iam i,FloridaforFARHAT to launderthepurported drug proceedsforCSl.
  O n Decem ber 14,2015,FA RH AT provided CS1 the nam e and phone num berofa co-conspirator

  in South Florida nam ed D iya SA LAM E as the person to receive the delivery of cash in M iam i.

  Thatsam eday,aDEA UC handedSALAM E abluebag with $125,000in $100billsintheparking
  lot of a bar/restaurantin D oral,Florida. A fter CS l confinned to FA RHA T thatthe m oney had

  been delivered,FARHAT senttwowirestotaling $121,250to a DEA UC account.
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  M onev transm itter em ails betw een H AC H EM and FAR H A T

                    Based   on       search   warrant obtained      in   2014         FA RHA T'S

  dieselhdzoll@ hotmail.com e-mail account, law enforcement agents found communications
  betw een FA RH AT and an em ailaccount,lateridentified asbelonging to H A CHEM ,thatindicated

  H A CH EM w as facilitating illicitm oney transfersforFARH A T.

         11. The em ails betw een HA CH EM and FAR HA T contained ledgers show ing deposits,

  w ithdraw als,and accountbalances and com m unicationsregarding the tim ing ofwiretransfersand

  what nam es to add to the w ires.For exam ple,HA CHEM sentFA RHA T an attachm ent w ith a

  ledgerthatcontained a running tally ofdepositsm ade from January 7,2013,to Septem ber9,2014,

  and the am ount of com m ission charged on the m oney received, under a colum n labeled

  tûcom m ission,'' w ith seem ingly no additional profit from the transactions other than the

  com m ission.

         12. B ased on m y training and experience both w ith the m ethods used by the conspirators

  in thiscase and otherm oney laundering investigations,such a ledgerretlectsaccounting form oney
             .




  laundering activities,particularly because there w ould be no reason for H A CH EM to charge a

  percentage com m ission forreceiving m oney from variousentitiesand accountsifhe wereengaged

  in the legitim ate business ofselling cellphones.

                 The em ails betw een HA CHEM and FAR HA T also detailed num erous third-party

  accounts through w hich m oney w as wired to HA CH EM .Such third-party m oney m ovem ents is

  further evidence oftrade-based m oney laundering because itadds a layerofprotection orsecurity

  to concealthe source and ow ner ofthe m oney.For exam ple,on Septem ber 19,2014,H ACH EM

  sentFARH A T an em ailentitled ûtW ire update,''in w hich HA CH EM stated,Ctcan you please let

  meknow how much youwired orhow much yougoing g...jYoussefgonnaship him 900pcs*
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  57$ lwilldouble check and about750: 44$ Butneed something please.lhave to pay 100k by

  M onday so 1can ship.''On Septem ber23,2014,H A CHEM requested thatFA RH AT send CûTTF,''

  whichisanapparentreferencetoaninvoiceorreceipttojustifythewiretransfer.A few minutes
  later,HACHEM sentFARHAT another email,with the subjectline çûshipping Youssef,''and
  stated,tû1need to contlilrm Yousseforder fortoday before lship.''ln thatemail,HACHEM
  includedthenam esofseveralphonesto beshipped. FARHAT then senta $95,200wiretransfer
   from a third-party accountin Brazilto HA CH EM 'Scom pany,ClassW ireless.

          14. O n oraboutOctober27,2014,HA CH EM sentanotherem ailto FA RHA T,and stated,

   ûlplease send 70k to thisaccount.''HA CH EM provided the nam e ofa w irelessw holesale com pany

   in M ichigan and FA RH AT replied,Cûneed com pany address.''

          15.Based on a search w arrantauthorized in June 2018 by U .S.M agistrate Judge Edw in

  Torres, agents searched FA RH A T'S iphone obtained during his arrest. ln FA RH A T'S phone,

  agents found W hatsA pp m essages betw een FA RHA T and a m oney transm itler in Hong Kong

  discussing sending H A CH EM m oney.ln particular,on D ecem ber 16,2016,FA RHA T tells the

  H ong K ong m oney transm itter, 1i10k from houssam . Tell him pls.'' The Hong K ong m oney

  transm itter responds,ûçok.U send now ?''O n M ay l6,2017,the Hong K ong m oney transm itter

   stated in a W hatsApp audio m essage thatûûlletroitH oussam ''asked thatFARH A T send the H ong

  Kong money transmitter:û$3,000 extra''form oney thatHACHEM owed on hisbalance.The next

  day,on M ay 17,2017,the Hong K ong m oney transm itter sentFAR HA T a W hatsA pp m essage

   asking,ûkcan you help to take from U SA houssam 3000usd?''FA RH A T responded,ûûYes lcan.''

   Denosits from com nanieshavine no leeitim ate businessw ith H A CH EM

          l6. Am ong the third-party wiresthatHA CHEM received thatw ere unconnected to any

   salesofgoodswerem ore than $450,000 in wiresfrom construction and flooringcom paniesin the
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  United Statesthat,based on law enforcem entsurveillance and attem pted interview s,do notappear

  to be engaged in any legitim ate business.ln the case of one purported construction com pany

  located in N ew Jersey,the ownerofthe accountadm itted to law enforcem entthathe w aspaid by

  anotherperson to use his bank accountto transm itm oney and therefore conducted no legitim ate

  businessw ith H A CH EM .Thisconstruction com pany'saccountsentthreedepositsto H A CHEM 'S

   SimpleW irelessaccountin December2016,totaling $65,000.A sim ilarpattern ofdepositsfrom

  other sham com paniesw asdiscovered forotherbusinessesrelated to H A CHEM 'Sco-conspirators

  in M iami and elsewhere.In total, over $5.5 million has been identified as originating from
  ûtconstruction''com pany paym ents to businesses identified in this investigation as belonging to

  HA CH EM orhis co-conspirators.

              H ACH EM also received deposits into his accountfrom other com paniesthat,based

  on a review ofm essagesand businessrecordsrelated to HA CH EM ,did notconductany legitim ate

  business w ith H A CHEM .For exam ple,HA CH EM received num erous,round num ber deposits

  from      two wig companies                     York (hereinafter, ttW ig Company
  andtiW ig Company 235)thatareindicativeofamoneylaunderingscheme,asshown inthechart
  below :

   Com pany        transm itting D ate of deposit into A m ount of deposit into H A CH EM
   m one                         H A C H EM account account
   W ig Company 1                 November21,2016        $7,000

   W ig Company 1                 Decem ber14,2016       $7,520

   W ig Company 2                 August28,2017          $6,845

   W ig Company 2                 October11,2017         $7,763

   W ig Company 1                 January 16,2018        $15,000

   W ig Company 1                 February 9,2018        $15,000
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    W ig Company 1                February 13,2018       $5,000

    W ig Company 2                February 15,2018       $10,709

    W ig Company 2                M arch 6,2018          $2,260

    W ig Company 2                M arch 19,2018         $6,161

    W ig Company 1                M arch 26,2018         $10,000

    W ig Company 1                April19,20l8           $7,500

    W ig Com pany 1               April23,2018           $8,805

    W ig Company 2                M ay 7,2018            $10,850

    W ig Com pany 1               M ay29,2018            $10,000

    W ig Com pany 1               December7,2018         $10,000

    W ig Company 1                December7,2018         $10,000


              HACHEM also received large,round numberdepositsfrom atranslation company in

   South Florida (hereinafter,kt-franslation Company 15) thatwas unrelated to HACHEM 'S cell
   phone businessesand,therefore,indicative ofm oney transm itting,as show n in the chartbelow :

    C om pany       transm itting Date of depositinto              A m ountof depositinto
    m one                         H A CH EM account                H A CH EM account
    Translation Company 1          Novem ber04,2016                $12,800.00

    Translation Company 1          December14,2016                 $20,000.00

    Translation Company l          M ay 02,2017                    $60,000.00
    Translation Company 1          July 10,2017                    $40,000.00

    Translation Com pany 1         July 31,2017                    $45,000.00

    Translation Company 1          October 10,2017                 $10,000.00

    Translation Company l          Decem ber11,2017                $40,000.00
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    Translation Company 1        December14,2017                $45,000.00
    Translation Company 1        December21,2017                $60,000.00

    Translation Com pany 1       December27,2017                $50,000.00

    Translation Company 1        December28,2017                $16,000.00

    Translation Company 1        February 02,2018               $40,000.00

    Translation Company 1        M arch 05,2018                 $40,000.00

    Translation Company 1        M arch 28,2018                 $50,000.00

    Translation Company l        M ay 02,2018                   $45,000.00

    Translation Company 1        M ay 07,2018                  $50,000.00

    Translation Company 1        M ay 09,2018                  $50,000.00

    Translation Company 1        July 06,2018                  $40,000.00

    Translation Company 1        August29,2018                 $40,000.00

    Translation Com pany 1       Septem ber06,2018             $20,000.00

    Translation Com pany 1       August29,2018                 $40,000.00

    Translation Company 1        Septem ber06,2018             $20,000.00


   Structured cash denosits

              H A CHEM received num erous structured cash deposits into his bank account. For

   exam ple, from February 4, 2015, through N ovem ber 9, 2015, 165 cash deposits totaling

   $1,032,935 were m ade to HACHEM 'SSimple W ireless'sBank ofAm erica account. Allofthe

   cash depositswereforamountsless$10,000. Conducting cash transactionsin amountslessthan

   $10,000isnoteworthybecausebanksarerequiredto reporttheidentityofpersonsconductingcash

   transactions greaterthan $10,000.From July 16,2014,through August 11,2014,HACHEM 'S
   HW GK Enterpriselncdba ClassW irelessreceivedninecash depositstotaling $72,000 and a11in
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   am ountsof$10,000 orless. Six ofthedepositsweremadein M assachusettsand threewerem ade

   in N evada. To illustrate the volum e and type ofstructured cash depositsthatH A CHEM routinely

   received,below isachartthatshowsthecash depositsintoSimpleW irelessfrom justonemonth:
    D ate of       cash City and State of Cash A m ount               of    cash
    de osit             De osit                de osit
    February 4,2015       M edford,M A                    $9,000.00

    February 5,2015       M edford,M A                    $4,000.00

    February 5,2015       M edford,M A                    $8,900.00

    February 10,2015      M edford,M A                    $9,000.00

    February 11,2015      Som erville,M A                 $8,500.00

    February 12,2015     M edford,M A                     $9,000.00

    February 13,2015      Som erville,M A                 $9,300.00

    February 17,2015     Detroit,M 1                      $1,055.00

    February 20,2015     M edford,M A                     $9,500.00

    February 23,2015     M edford,M A                     $9,450.00

    Febnlary 24,2015     M edford,M A                     $9,225.00

    February 25,2015      Somerville,M A                  $9,800.00

    February 26,2015     M edford,M A                     $9,750.00
    February 27,2015     M edford,M A                     $9,625.00


                                            CO N C LUSIO N

      20. Based on the foregoing,Isubm itthere isprobable cause to believe thatHoussam

   H A CHEM conspired to com m itm oney laundering,based on the specified unlaw fulactivity of

   operating an unlicensed m oney transm itter business,in violation ofTitle 18,U nited StatesCode,

   Section 1960,allinviolationofTitle 18,UnitedStatesCode,Section 1956(h).
                                                                         ,anddidknowingly
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   and forthepurpose ofevading the reporting requirem ents ofTitle 31,U nited States Code,Section

   5313(a), and any regulation promulgated thereunder, structure and assist in structuring,
   transactions,thatis,cash deposits into H A CHEM 'Sbank account,in violation ofTitle 31,United

   StatesCode,Sections5324($(3)and5324(d)(1)and(2),andTitle18,UnitedStatesCode,Section




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                                                      4z
                                              D anielM cN am ara,SpecialA gent
                                              D rug Enforcem entA dm inistration




   Sw orn and sub crib be ore
   m e this31st y o c ob 2019.



   H ON .JO  J.O SU LLIV AN
   UN ITED TA T M A GISTRA TE JU D GE




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